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PROB 35             ORDER TERMINATING SUPERVISED RELEASE
                          PRIOR TO EXPIRATION DATE


                          UNITED STATES DISTRICT COURT
                                    FOR THE
                         EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                           )
                                                   )
                           vs.                     )    Docket Number: 2:97CR00560-04
                                                   )
Joel Alvarez BANUELOS                              )
                                                   )


On April 4, 2001, the above-named was placed on supervised release for a period of five (5)
years. Mr. Banuelos has complied with the rules and regulations of supervision. It is
accordingly recommended that he be discharged from supervision.

                                  Respectfully submitted,

                                      /s/ Richard A. Ortiz

                                  RICHARD A. ORTIZ
                         Senior United States Probation Officer

Dated:        November 1, 2005
              Elk Grove, California
              RAO:jz

REVIEWED BY:         /s/ Deborah A. Spencer
                    DEBORAH A. SPENCER
                    Supervising United States Probation Officer




                                                                                   Rev. 03/2005
                                                                                  P R O B 3 5. MR G
        Case 2:97-cr-00560-FCD-KJM Document 246 Filed 11/08/05 Page 2 of 2


Re:   Joel Alvarez BANUELOS
      Docket Number: 2:97CR00560-04
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE




                                   ORDER OF COURT

It is ordered that Joel Alvarez Banuelos be discharged from supervised release, and that the
proceedings in the case be terminated.

November 7, 2005                                /s/Frank C. Damrell, Jr.
Date                                            FRANK C. DAMRELL, JR.
                                                United States District Judge

RAO:jz
Attachment: Recommendation
cc:   United States Attorney's Office
      FLU Unit, AUSA's Office
      Fiscal Clerk, Clerk's Office




                                                                                    Rev. 03/2005
                                                                                   P R O B 3 5. MR G
